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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

       IN RE:                                       :       CHAPTER 7
         J. McCLOUD REALTY, LLC                     :
                       Debtor                       :       No. 25-11778(amc)

           ORDER DIRECTING THE SHERIFF of PHILADELPHIA COUNTY
           to POSTPONE SHERIFF’S SALES of the DEBTOR’S PROPERTIES

       AND NOW, this                  day of June, 2025, upon the consent of the parties, it is

hereby ORDERED that the Sheriff of Philadelphia County shall postpone the Sheriff’s Sales of

the Debtor’s properties, 3125 North Marston Street and 5909 Windsor Avenue, to the August 5,

2025 sale date, with no advertising or other notice required beyond an announcement to the bidders

assembled for the July 1, 2025 Sheriff’s Sale.

                                             BY THE COURT:


                                             Ashely M. Chan, Chief U.S. Bankruptcy Judge
